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                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

               Plaintiff,

 v.                                                       Case No. 11-CR-20551-11


 FREDERICK TILL JACKSON, SR

            Defendant
 ___________________________________/

         ORDER AMENDING STANDING ORDER FOR DISCOVERY AND
                     INSPECTION IN CRIMINAL CASES;
       AND GIVING NOTICE OF CERTAIN PRETRIAL AND TRIAL PRACTICES

        The court finds that certain amendments to Administrative Order No. 03-AO-027

 governing trial preparation will better assist in the effective administration of this case.

        IT IS HEREBY ORDERED that Administrative Order No. 03-AO-027 is amended

 in certain respects in this case as stated in Appendix 1 to this Order. Counsels’ trial

 preparation shall be consistent with this court’s amendments to that Administrative

 Order. Counsel shall also take notice of the court's intended practices, outlined in

 Appendix 2 to this Order, concerning pretrial, voir dire, jury selection, trial practices, final

 pretrial and guilty plea cutoff, and sentencing. For further information counsel may visit

 <http://www.mied.uscourts.gov/Judges/guidelines/index.cfm?judgeID=12>

                                             S/Robert H. Cleland
                                             ROBERT H. CLELAND
                                             UNITED STATES DISTRICT JUDGE
 Date: December 18, 2012
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                                      APPENDIX 1

     AMENDMENTS TO STANDING ADMINISTRATIVE ORDER 03-AO-027
                     ON CRIMINAL PRACTICE

       The references in this Appendix to "section" numbers are to the sections of

 the Standing Order.

       1)     Section 5(a) (MARKING OF EXHIBITS):

       Exhibits shall be pre-marked and designated as: government exhibits

 beginning with "101" and defendant’s exhibits beginning with "501."

 Counsel may discuss and recommend to the court before trial a reasonable

 alteration to the numbering system described.

       The list required under Section 5(a) of the Standing Order should be

 submitted not later than the morning of jury selection. Counsel for the

 government is urged to make reasonable efforts to reach agreement with other

 counsel concerning the admissibility of each intended physical exhibit. In the

 event such agreement is reached, a list of such exhibits is to be prepared by

 government counsel for entry at the opening of trial, and the exhibits will be

 considered admitted at the outset.

       2)     Sections 5(b), 6 and 7 (OBJECTIONS TO FOUNDATIONAL

              ISSUES):

       In the event defense counsel chooses to file a notice of intent to contest


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 foundation, chain-of-custody or scientific analysis, such notice shall be filed not

 later than 7 days before trial. Unless such items or possible exhibits are

 unusually voluminous, the notice shall provide a brief exhibit-by-exhibit or item-

 by-item description of the good faith basis for any such objection. A blanket

 statement saying no more than "defendant contests the foundation" is not

 sufficient. The statement of the good faith basis for any objection may be ex

 parte if in the opinion of counsel there is a reasonable basis for doing so.

       In the event that such items or possible exhibits are unusually voluminous,

 counsel for the defense shall, as early as is possible, give notice to the court and

 the government of any difficulty expected in providing the specific objections

 required herein, and seek assistance –first of the government, then of the court–

 in resolving the matter.

       3)     Section 10 (JURY INSTRUCTIONS):

       Counsel for the government is directed to draft proposed instructions which

 identify the elements of the offense in the form of 6th Circuit pattern instruction

 2.02, and to draft any other "non-standard" instruction requests. Counsel for the

 defense shall also draft any "non-standard" instructions intended to be requested.

 Other instructions may be requested of the court by either party simply by

 reference to pattern instruction number.

       "Elements" instructions proposed by the government, and proposed special

 instructions by both counsel shall be circulated among counsel with a reasonable

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 opportunity given for reaction and possible stipulation. All such drafting and

 reaction shall be concluded in time for submission of stipulated and requested

 instructions before the jury selection is scheduled to commence. The court

 intends to produce in chambers the final set of instructions.

       Counsel must submit proposed instructions by e-mail attachment

 consistent with WordPerfect.

       4)     Section 11 (MOTION TIME LIMITS):

       The court will generally set appropriate motion cut-off dates in a scheduling

 order. The stringency of those limits generally varies with the complexity of the

 case and the completeness of voluntary government discovery. Counsel are

 reminded to seek concurrence under Local Rule 7.1(b) and to explain in

 reasonable detail the results of counsel’s efforts before filing any motion. Failure

 to do so will ordinarily result in a summary denial of the motion.




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                                          APPENDIX 2



                  FINAL PRETRIAL; VOIR DIRE; JURY SELECTION

                       AND TRIAL PRACTICES; SENTENCING 1

 1)     FINAL PRETRIAL AND CHANGE-OF-PLEA DEADLINE

                a) The court does not ordinarily accept a negotiated2 plea of guilty

 after the final pretrial and change-of-plea cutoff conference date. Accordingly,

 unless a signed Rule 11 agreement is in hand before that time, the attorneys for

 the parties are hereby directed as follows:

                b) Each trial attorney and defendant must personally appear in

 court at the noticed date and time. Any request for adjournment should be

 supported by good cause and made at least 24 hours in advance to allow

 the court to properly notify other participants.

                c) The defendant must be prepared to proceed with the guilty plea if

 such is intended.



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            More detailed information is available at the the Court’s website:
 <http://www.mied.uscourts.gov/index.html>, then “Local Rules/Practices,” then “Practice Guidleines”
        2
           A "negotiated" plea is one that contains any restrictions regarding sentencing under Rule
 11, a significant reduction in the number of counts alleged, a 5K1.1 provision or any other
 concessions by the government that could impinge upon the court's sentencing authority or
 discretion. The court ordinarily does not accept plea agreements under Rule 11(c)(1)(C), but
 readily accepts agreements under Rule 11(c)(1)(B) that include non-binding sentencing
 recommendations; the court also generally accepts plea agreements that contemplate well-founded
 5K1.1 departures. Although 11(c)(1)(B) sentencing recommendations are not binding, the court
 nonetheless gives them careful consideration, and often agrees.

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                d) In the event that the defendant chooses to proceed to trial, the

 court will ask the government to set forth on the record any proffered plea

 agreement and the government’s view of the calculation of sentencing guidelines

 if the proffered agreement were accepted as opposed to a conviction at trial. The

 court will address the defendant on the record and insure that the decision to

 proceed to trial was made after adequate consultation with counsel and to record

 that the decision to proceed to trial represents the defendant’s knowing and

 voluntary choice.

                e) Counsel must be prepared to conduct the Final Pretrial

 Conference, and to discuss at least the following areas:

                      i) Evidence stipulations or problems

                      ii) Instruction stipulations or problems

                      iii) Unresolved motions

                      iv) Number of witnesses and estimated time for case

 presentation

                      v) Estimated time for opening statements

                      vi) Understanding of juror-proposed question procedure

 2. VOIR DIRE:

                a) It is the court's practice to conduct voir dire questioning of the jury

 panel. Counsel must submit any questions they may wish to request in writing to

 the court not later than the end of the business day two days before jury

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 selection is scheduled to commence. Question requests submitted on the

 morning of trial will generally not be considered by the court.

 3. JURY SELECTION METHOD: JURY TRIAL PRACTICES

       The court will use a “struck jury” system for jury selection. A detailed

 written description of this method is available from chambers and on the Court’s

 website. Ordinarily the court will select twelve regular and two alternate jurors.

 Principal peremptory challenges must be used to select the twelve, and the

 additional peremptory used separately to select the alternates. Alternate jurors

 are ordinarily told that they are alternates.

       At trial, the court generally gives to the jury a copy of the indictment as a

 guide to the case the government is required to prove. Therefore, counsel for the

 government ordinarily produces a "sanitized" version of the indictment redacted

 of all language referring to the Grand Jury and any other irrelevant or potentially

 prejudicial matter.

       The jury will be allowed to take notes. The jury will ordinarily be allowed to

 submit written proposed clarification questions of witnesses at the conclusion of

 the testimony. Any such questions will be reviewed by the court and counsel out

 of the hearing of the jury, with counsel having the opportunity to object to the

 substance of the question. The court then asks the question on behalf of the

 juror, and counsel are given an opportunity for pertinent follow-up questions.

 Caution is exercised during this process, and the court specifically instructs the

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 jury in advance on these issues. See the Court’s website for further specifics. Any

 objection to this procedure or suggestions for alteration must be stated in

 advance of trial.

       4)     SENTENCING PROCEDURES

       In the event of a conviction a presentence report will be prepared in the

 regular course of business and counsel will respond pursuant to Rule 32, Fed. R.

 Crim. P., and any applicable Local Rule of this court. The procedures to be used

 in preparation for sentencing will be set forth in a separate order, and will include

 the following:

       In the event that a party identifies objections (controverted items) which are

 not accepted by the probation officer, and which are therefore to be resolved by

 the court, both parties shall prepare to respond in writing. Although a more

 detailed order for response may be forthcoming from chambers on a case-by-

 case basis, the non-objecting party shall respond to each objection, setting forth

 the party's position in agreement or disagreement with the objection, and

 specifying at least these things:

       The factual or legal basis on which the response rests.

       Whether or not the party intends to present witnesses in support of a

 sentencing position.

       If witnesses are intended, the name of each witness should be given along

 with a brief statement showing the controverted item to which the witness's

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 testimony applies, the substance of the witness's intended testimony (expressed

 in one or two sentences), and an estimate of the time required to present the

 witness's testimony.

       Counsel must avoid “objecting” to presentence report notations which are

 nothing more than mechanical or arithmetic calculations under the guidelines, the

 resolution of which depend on other factual items.

       DEPARTURES. Any motion for a departure from the calculated range

 based upon Sentencing Guidelines factors must be stated in writing and filed not

 fewer than fourteen days before sentencing. Provide a copy to the Probation

 Officer. The opposing party must file a response not fewer than seven days

 before sentencing. A decision on a departure motion will ordinarily be

 announced before sentencing. Oral argument may be invited by the court in some

 cases.

       VARIANCES. Requests for sentencing variances based upon 28 U.S.C. §

 3553(a) factors are often closely related to the substance of pre-sentencing

 allocution. The basis for a hoped-for sentencing variance should be set forth in a

 motion fourteen days in advance of sentencing, but even if not so stated may

 be brought to the court’s attention at sentencing. If a variance request is not

 briefed, and brought up only at sentencing, a delay in the imposition of sentence

 may be required, with the defendant remanded to custody pending final

 imposition of sentence.

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       A sentencing memorandum is optional, but often helpful, and must be filed

 not fewer than seven days before sentencing if at all.

       Unless otherwise permitted for reasonable cause, allocution will not exceed

 eight minutes for defendant’s counsel, five minutes for defendant and eight

 minutes for government counsel.




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